         CASE 0:08-cr-00063-JRT-JSM     Doc. 97   Filed 07/16/10   Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
   _______________________________________________________________________

    UNITED STATES OF AMERICA,                       Criminal No. 08-063 (JRT/JSM)

                                   Plaintiff,

    v.                                                        ORDER

    CAROLYN M. LOUPER-MORRIS (1)

    and

    WILLIAM J. MORRIS, JR. (2),

                           Defendants.
   _______________________________________________________________________


         Timothy Rank and David Genrich, Assistant United States Attorneys,
         OFFICE OF THE UNITED STATES ATTORNEY, 300 South Fourth
         Street, Suite 600, Minneapolis, MN 55415, for plaintiff.

         Paul Edlund, ATTORNEY AT LAW, 212 Third Avenue North, Suite 545,
         Minneapolis, MN 55401, for defendant Louper-Morris.

         Lyonel Norris, Assistant Federal Defender, OFFICE OF THE FEDERAL
         DEFENDER, 300 South Fourth Street, Suite 107, Minneapolis, MN
         55415, for defendant Morris.


         The defendants have filed a motion for new trial [Docket No. 96].       IT IS

HEREBY ORDERED that the government shall respond to said motion by July 30,

2010.
      CASE 0:08-cr-00063-JRT-JSM   Doc. 97   Filed 07/16/10   Page 2 of 2


Dated: July 15, 2010
at Minneapolis, Minnesota               ____s/ John R. Tunheim ____
                                          JOHN R. TUNHEIM
                                        United States District Judge
